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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS
                              EASTERN DIVISION
___________________________________
                                      :
Suzanne Cyganiewicz,                  :
                                      :  Case No. 4:13-cv-40068-TSH
             Plaintiff,               :
                                      :  NOTICE OF VOLUNTARY
        v.                            :  DISMISSAL
                                      :
Sallie Mae, Inc.                      :
                                      :
             Defendant.               :
___________________________________   :



       NOW COMES Plaintiff, Suzanne Cyganiewicz (“Plaintiffs”), by her attorneys, KROHN

& MOSS, LTD., and pursuant to FRCP 41(a)(1)(A) (Dismissal of Actions—Voluntary Dismissal

By Plaintiff Without Court Order) voluntarily dismisses, with prejudice, Sallie Mae, Inc.

(“Defendant”), in this case.


                                         By: /s/ David R. Jackowitz

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                                CERTIFICATE OF SERVICE

       I hereby certify that on September 18, 2014, I electronically filed the foregoing with the

Clerk of the Court by using the CM/ECF system A copy of said Notice was electronically

submitted to all parties by the Court’s CM/ECF system.


                                             By:   /s/ David R. Jackowitz
                                                     David R. Jackowitz
